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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                22-20104-CR-MARTINEZ/BECERRA(s)
                      CASE NO.
                                         18 U.S.C. § 2339A(a)
                                         18 U.S.C. § 956(a)(l)                                 KAN
                                         18 U.S.C. § 981(a)(l)(C)
                                         18 U.S.C. § 981 (a)(l)(G)                 Jun 28, 2022
 UNITED STATES OF AMERICA
                                                                                                Miami
 v.

 MARIO ANTONIO PALACIOS PALACIOS
 and
 RODOLPHE JAAR,

                                 Defendants.
 ------------------
                                  SUPERSEDING INDICTMENT

          The Grand Jury charges that:

                                          COUNT!
      Providing Material Support or Resources to Carry Out a Violation Resulting in Death
                                    (18 U.S.C. § 2339A(a))

          Beginning in or around June of 2021, and continuing through on or about July 7, 2021, in

 a place outside the United States, including Haiti and elsewhere, the defendants,

                           MARIO ANTONIO PALACIOS PALACIOS
                                         and
                                   RODOLPHE JAAR,

 did provide material support and resources, as defined in Title 18, United States Code, Section

 2339A(b), that is, personnel, including themselves, and services, knowing and intending that they

 be used in preparation for, and in carrying out, a violation of Title 18, United States Code, Section

  956(a)(l), that is, a conspiracy to kill and kidnap a person outside of the United States.

          All in violation of Title 18, United States Code, Sections 2339A(a) and 2.
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                                           CO UN T 2
                    Conspiracy to K illor K idnap O utside the U nited States
                                      (18U.S.C.j956(a)(1))
         Beginning in orarotmd Jtme of2021,and continuingthrough on oraboutJuly 7,2021,in

  M inmi-DadeCounty,in the Southem DistrictofFlorida,and in aplace outsidetheUnited States,

  including Haitiand elsewhere,the defendants,

                         M A 1t10 A NT O N IO PA LA C IO S PA LA CIO S
                                              and
                                     R O D O LPH E JA AR ,

  and otherpersonsknown and tm know n to the G rand Jtuy,atleastone ofw hom having been w ithin

 the jurisdiction of the United States, did knowingly and intentionally combine, conspire,
  confederate,and agreetogetheratldwith each other,to comm itataplaceoutsidetheUnited States,

  actsthatwould constitute murderand kidnapping ifthese crim es were com mitted in the special

 maritimeandterritorialjtuisdiction oftheUnitedStates,thatis,themtlrderandkidnappingofthe
 PresidentofHaitiJovenelM oise,andoneorm oreconspiratorsdidcomm itoneorm oreadswithin

 thejudsdiction oftheUnited States,toeffectthepurposeand objectoftheconspiracy.
         A1linviolationofTitle18,UnitedStatesCode,Section956(a)(1).
                                FO R FE IT UR E A LLEG A TIO N S

                The allegations ofthisSuperseding Indictmentare hereby re-alleged and by this

 reference fully incorporated herein forthepttrpose ofalleging forfeitm e to the United Statesof

 America of cedain property in which the defendants, M ARIO ANTONIO PALACIOS

 PA LA CIO S and R O D O EPH E JA AR ,have an interest.

                Uponconvictionofaviolation ofTitle18,UnitedStatesCode,Sections2339A($
  or956(a)(1)asallegedin thisSuperseding Indictment,thedefendantshallforfeitto theUnited
  States any property,real or personal'
                                      ,which constitm es or is derived f'
                                                                        rom proceeds traceable to
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  such offense,pursuanttoTitle18,UrlitedStatesCode,Section 981(a)(1)(C).
                U pon conviction ofa violation ofTitle 18,United States Code,Sections2339A or

  956(a)(1)asalleged inthisIndictment,thedefendantshallforfeittotheUnited Statesal1assets,
  foreign ordom estic'
                     .

         (i)    ofany individual,entity,ororganization engaged inplnnning orperpetrating any
                Federalcrimeoftenorism (asdefmed in section 2332b(g)(5))againsttheUrlited
                States,citizensorresidents ofthe United States,ortheirproperty,and a11assets,

                foreign ordom estic,affording anypersonasourceofinfluenceoverany suchentity

                ororganization;

         (ii)   acquired or maintained by any person with the intent and forthe pupose of
                supporting,plnnning,conducting,orconcealinganyFederalcrimeoftenorism (as
                defined in section 2332b(g)(5))againsttheUnited States,citizensorresidentsof
                theUnited States,ortheirproperty;

        (iii) derived from,involved in,orused orintendedto beused to commitany Federal
                crime ofterrorisrri(asdefined in section 2332b(g)(5))againsttheUnited States,
                citizens orresidents oftheU nited States,ortheirproperty;or

                of any individual,entity,or orgnnization engaged in planning or perpetrating any

                actofintemationalterrorism (asdefmed insection2331)againstanyinternational
                organization (asdefmed in section209oftheStateDepartmentBasicAuthorities
                Actof1956(22U.S.C.4309(b))oragainstanyforeign Govemment.
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                Allpursuantto Title 18,United StatesCode,Section 981(a)(1)(C)and/or(G)and the
     procedures setforth in Title 21,United States Code,Section 853,as incorporated by Title 28,

     United StatesCode,Section 2461(c).


                                                      AT    E ILL



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 ux l'r STATE T'roux sv




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     A SSIST T UN ITE STA TES A TTORN EY


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                  ),,
     W A LTER N ORIU N
     ASSISTANT UNITED STATES ATTORNEV




      ON ICA CA STRO
     ASSISTAN T UNITED STATES ATTORNEY




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      Case 1:22-cr-20104-JEM Document 27 Entered on FLSD Docket 06/29/2022 Page 5 of 7
                                  UM TED STATESDISTRICT COURT
                                  SOUTH ERN DISTRICT OF FLORD A

UM T ED STA TE : O F AM ER IC A                       CASE NO.:22-2104-CR-R M (s)
V.
M ARIO ANTOM O PALACIOS PM ACIOS                      C ER TIFICA TE O F TR TAI,A T TO R N EY *
and
RODOLPIIEJAAR.                         /              Supersedlng C ase Inform ation:
                   Defendants.
CourtDivision (selectone)                             New Defendantts)(YesorNo)Yes
     Z' Miami      L KeyW est D IRTP                  Num berofNew Defendants 1
      L F'TL       L W PB                             TotalnumberofN ew Cotmts0

ldo hereby certify that:
  1. lhave carefully considered the allegations ofthe indictm ent,the nllm ber of defendants,the numberofprobable
       witnesses arld thelegalcomplexitiesoftlzeIndictment/lnformation attached hereto.
       Iam awarethattlzeinformationsuppliedonthisstatementwillberelieduponby theJudgesofthisCourtirlsetting
       theircalendarsandscheduling crhninaltdalsunderthemandateoftheSpeedy TrialAct,Title28U.S.C.j3161.
       lnterpreter:(YesorNo)Yes
       Listlanguageand/ordialect:Spanish
 4.    Tlziscasewilltake 15 daysforthepartiesto try.

       Pleasecheck appropriate category and type ofoffenselisted below :
       (Checkonlyone)                           (Checkonlyone)
       l     IZ 0to 5days                  L.   Petty
       11    L 6to 10 days                 L    Minor
       Ill   Z 11to20 days                 L)   Misdemeanor
       IV    D 21to60 days                 z    Felony
       V     L'61daysandover

       HasthiscasebeenpreviouslyfiledinthisDistdctCourt?(YesorNo)Yes
       Ifyes,JudgeMartinez                            CaseNo.22-20104-CR-JEM
       Hasacomplaintbeenfiledintllismatter? (YesorNo)Yes
       Ifyes,M agistrateCaseNo.21-mj-04265
       DoestlziscaserelatetoapreviouslyflledmatterinthisDistrictCourt?(YesorNo)No
       Ifyes,Judge                            CaseNo.
  9. Defendantts)infederalcustody asof01/20/22
  10. Defendantls)instatecustody asof
  l1. Rule20 âom the                   Districtof
  12. Isthisapotentialdeathpenaltycase?(YksorNo)No
  l3. Doesthiscaseorio atefrom amatterpendingintheNol-them Re#on oftheU.S.Attom ey'sOx ce
      pliortoAugust8,2014 (M ag.JtldgeShaniek M aynard?(YesorNo)No
       Doesthiscase originate from am atterpending illthe CenkalRegion oftheU .S.Attom ey'sOo ce
       ptiortoOctober3,2019(M ag.JudgeJaredSkauss?(YesorNo)No


                                                       By:
                                                                 Audrea 1 barg
                                                                 Assistant 'ted S tesAttorney
                                                                 CourtID No.      5502556
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                             U NITED STATES DISTRICT C OU RT
                             SOU TH ER N DISTRICT O F FLO RIDA

                                        PEN ALTY SHEET

   Defendant's Nam e: M ario Antonio Palacios Palacios

   CaseNo: 22-20104-CR-JEM (s)

   Count#:1

   Providing M aterialSupportorResourcesto Carry outa V iolation of Section 956,Resulting in
   D eath

   Title 18.U nited StatesCodesSection 2339A                                -




   * M ax.Term oflm prisonm ent:LifeIm prisonm ent
   *M andatoryM in.Term ofImprisonment(ifapplicable):
   * M ax.Supervised Release:L ife
   *M ax.Fine:$250,000                                                           -- -          -




   Count#:2

   Conspiracv to K illorK idnap a person outside theU nited States

   Title 18.United StatesCode.Section 956(a)(1)
   * M ax.Term ofIm prisonm ent:Life Im prisonm ent
   *M andatoryM in.Term ofImprisonment(ifapplicable):
   * M ax.Supervised R elease:Life
   *M ax.Fine:$250,000




     WRefersonly to possibleterm ofincarceration,supervised release and fines. ltdoesnotinclude
           restitution,specialassessm ents,paroleterm s,orforfeituresthatm ay beapplicable.
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                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLOIUDA

                                       PEN A LTY SH EET

 Defendant'sNam e: Rodolphe Jaar

 CaseNo: 22-20104-CR-JEM (s)
 Cotmt#:1

 Providin:M atedalSupportorResotlrcesto Carrv outaViolation ofSection 956,Resultin: in
 D eath

 Title 18eUnited StatesCode,Section 2339A

 * M ax.Term ofIm prisonm ent:LifeIm prisonm ent
                                                                                    -   - -
                                                                                                   4
 *M andatoryM in.Term ofImprisonment(ifapplicable):
 * M ax.Supervised R elease:Life
 *M ax.Fine:$250,000

 Cotm t#:2

 Conspiracy to KillorKidnap aperson outsidetheUnited States

 Title 18eUnited StatesCodesSection 956(a)(1)

 * M ax.T erm ofIm prisonm ent:Life Im prhonm ent
 *M andatoryM in.Term ofImprisonment(ifapplicable):
 * M ax.Supervised R elease:Life
 *M ax.Fine:$250,000




   frR efersonly to possible term ofincarceration,supervised release and fines. Itdoesnotinclude
           restitution,specialassessm ents,parole term s,or forfeituresthatm ay beapplicable.
